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TAB 2
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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MASSACHUSETTS

IN RE: PHARMACEUTICAL
INDUSTRY AVERAGE WHOLESALE
PRICE LITIGATION
THIS DOCUMENT RELATES TO
United States of America, et al,
Ven-a-Care of the Florida Keys,
Inc.,

vs.
Boehringer Ingelheim, Corp.,
et al.

Civil Action 07-10248-PBS

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MDL NO. 1456
CIVIL ACTION

01-CV-12257-PBS

Judge Patti B.

Saris

Chief Magistrate
Judge Marianne B.

Bowler

(Cross-caption appears on following page)

VIDEOTAPED DEPOSITION OF SHELDON BERKLE

VOLUME I

Naples, Florida

Friday, October 31, 2008

Tse erases LUM BASIS ase sc Ded bn AOUS Ae OL APANPIRG URS PRI la aN NL ND OL aa SS DR NR Le ed RE EMR

Be nd Coe ee SE EET EE Sea AME ORES Ea ee

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ta Ld RIERA REN LASTEST ARS

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8 (Pages 26 to 29)

26 28 |
1 Altus? 1 A. Yes, there was.
2 A. May 2005. 2 Q. When was that? i
3 Q. Prior to that time where did you work? 3 A. It was November 1994. F
4 A. Just prior to that I had been retired 4 Q. And when did you stop working for |
5 for just over a year, and prior to that with 5 Boehringer Ingelheim's American operations? ||}
6 Boehringer Ingelheim in the United States, and} 6 A. The end of 2003. fl
7 prior to that in Canada. 7 Q. Upon transfer to the U.S., which i
8 Q. When you say Boehringer Ingelheim in 8 specific entity did you work for? :
9 the United States, do you mean Boehringer 9 A. BIPI. ;
10 Ingelheim Pharmaceuticals, Incorporated? 10 Q. BIPI. What was your position there? :
11 A. Correct. 11 A. Executive vice president.
12 Q. Is it okay if we refer to that 12 Q. Executive vice president.
13 sometimes today as BIPI? 13 Did you have -- Did you have a position
14 A. Yes. 14 at any other Boehringer Ingelheim entities in
15 Q. Is BIPI part of a larger family of 15 America at that time? :
16 companies? 16 MR. GASTWIRTH: Objection to form.
17 MR. GASTWIRTH: Objection to form. 17 THE DEPONENT: I was a vice president ;
18 THE DEPONENT: Yes, it is. 18 for BI Corporation. :
19 BY MR. FAUCL 19 BY MR. FAUCI:
20 Q. Is that -- Is it okay if I call that 20 Q. Is it okay if we refer to that as BIC?
21 sometimes the Boehringer Ingelheim family of 21 A. Sure.
22 companies? 22 Q. What about a company known as Roxane
27 29 |
1 MR. GASTWIRTH: Objection to form. 1 Laboratories, did you have a position with them?
2 THE DEPONENT: Are you referring to the| 2 MR. GASTWIRTH: Objection to form. ;
3 USS. family or to the worldwide family? 3 THE DEPONENT: No.
4 BY MR. FAUCI: 4 BY MR. FAUCI: i
5 Q. To the worldwide family I guess. IfI 5 Q. Can you describe in general the
6 -- If] use Boehringer Ingelheim family, I'm 6 business of BIPI in the 1994 time frame. By ;
7 talking about the whole broad -- 7 business I mean, among other things, what types
8 A. The whole shebang. 8 of products was the company marketing or selling?
9 Q. The whole shebang. 9 A. Again, it was involved in the research;
10 A. That's fine. 10 basic research, clinical research and marketing
11 Q. When did your employment begin with any} 11 sales of human pharmaceuticals. It was a
12 Beohringer entity and the Beohringer Ingelheim 12 relatively smaller company in the U.S.
13 family of companies? 13 pharmaceutical business. And we were involved i
14 A. 1973. 14 a couple therapeutic areas at that point,
15 Q. With what entity? 15 respiratory medicine predominantly.
16 A. Boehringer Ingelheim Canada. 16 Q. Were most of BIPI's products branded
17 Q. And obviously that's a Canadian 17 drugs or generic drugs?
18 company? 18 A. Branded drugs.
19 A. Correct. 19 Q. Can you describe the business of BIC at
20 Q. Was there a point in time when you 20 about the same time, the 1994 time frame.
21 transferred to Boehringer Ingelheim's American 21 A. My understanding of what BIC was was
22 22 really as a holding company for the U.S.

Daa AO gA Ae SDRSA D e EE PA MSPEA a RSADe NA OG  ARE ELIAS A LORI PU rd AN UM As CER SBN ULARLY EAL Abn NSLP LUD a

operations?

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9 (Pages 30 to 33)

30

Q. Is it fair to say that BIC didn't have
any active business of its own?

A. Correct.

Q. Can you -- Are you familiar with a
company known as Roxane Laboratories?

A. Yes, lam.

Q. Can you describe their business
generally.

MR. GASTWIRTH: Objection to form.

THE DEPONENT: My understanding of
Roxane is that its predominant business was
involved in the generic or multi-source business.
BY MR. FAUCTI:

Q. When you use the term "multi-source",
is that -- is that a synonym for generic?

A. Yes.

Q. Did Roxane also have a different --
another type of product known within Roxane as
branded generic?

A. Yes, they did.

MR. GASTWIRTH: Objection to form.
BY MR. FAUCI:

32 |:
Q. Thank you.
You said earlier that BIC is something :
like a holding company? !
A. Yes. ;
MR. GASTWIRTH: Objection to form. |}:
BY MR. FAUCI: |
Q. Can you tell me the relationship
between BIC and BIPI. :
MR. GASTWIRTH: Objection to form.
THE DEPONENT: Again, BIPI wasa_ |}:
division of BIC. There were multiple divisions ||;
within the United States.
BY MR. FAUCI:
Q. Do you consider -- Strike that.
I'm going to show you a document that
the court reporter has marked as Exhibit 2.
(Exhibit Berkle 002 was marked.)
BY MR. FAUCI:
Q. Do you recognize this document?

A. Not specifically, no, I do not.
Q. Please read the -- the top of the
document I read it says job description; is that

‘Oo ©

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31

Q. Can you tell me what the difference is
between a multi-source or --

MR. GASTWIRTH: Just hold on for one
second.

MR. FAUCI: Sure.

MR. GASTWIRTH: Okay. Thanks.

BY MR. FAUCI:

Q. Can you tell me the difference between
a multi-source or generic product and a branded
generic product.

A. Again, my understanding is a multi-
source product is a product in which there are
several companies marketing the same chemical
entity with really no differentiation in terms of
the quality aspects of those drugs.

Branded generics in my estimation is
then again not so different in the sense that
these products are still marketed by multiple
companies; however, there is a brand name
attached to that generic drug and there is an
attempt to try to differentiate those branded

22 generics from each other. 22 that you were ultimately hired for in or around | ‘

33 |
correct?
A. Correct.
MR. GASTWIRTH: And if you need a few
minutes to look at the document --
BY MR. FAUCI:
Q. By all means. Whenever I give you a

document take a couple minutes to look at it. i
A. Sure. Absolutely. i
Q. So the top of the document says job
description; that's correct?
A. Yes.
Q. Can you read what it says below that.

PSE A Ae

Just the next line.

A. Head of Business Unit Ethical
Pharmaceuticals United States.

Q. And then directly below that in
parentheses.

A. Executive vice president Boehringer

Ingelheim Pharmaceuticals, Inc. Vice president

Boehringer Ingelheim Corp. Corporation, sorry.
Q. Were these the position or positions

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13 (Pages 46 to 49)
46 48 fi
1 BY MR. FAUCI: 1 Q. Including Roxane?
2 Q. Take a moment to familiarize yourself 2 A. Including Roxane.
3 with the document. Whenever you're ready, you 3 Q. Did you report to Mr. Gerstenberg? i
4 can tell me if you recognize this document. 4 A. Yes, I did.
5 A. That's fine. 5 Q. Was there anyone in between you and Mr.
6 Q. Do you recognize this document? 6 Gerstenberg in the hierarchy of the corporation
7 A. Not specific. You know, I can't 7 or were you pretty much directly reporting to
8 remember it specifically. 8 him?
9 Q. Do you see in the upper left-hand 9 MR. GASTWIRTH: Objection to form.
10 corner it says employee bulletin? 10 JHE DEPONENT: I reported directly to
11 A. Yes, Ido. 11 Mr. Gerstenberg.
12 Q. Which company issued this employee 12 BY MR. FAUCI:
13 bulletin? 13 Q. On the first page in the fourth ft
14 MR. GASTWIRTH: Objection to form. 14 paragraph down, can you just read the first
15 THE DEPONENT: I really don't know. 15 sentence into the record.
16 BY MR. FAUCI: 16 A. Starting with Shelly's duties? 5
17 Q. Do you know whether this employee 17 Q. Yes. Thank you. ;
18 bulletin would have been sent to BIPI employees?} 18 A. Shelly's duties will mainly focus on
19 A. I would assume it was. 19 the strategic alignment of our ethical i
20 Q. Do you know whether it would have been} 20 pharmaceutical business in the U.S. and he wil i
21 sent to Roxane employees? 21 be responsible for the operating result for this ;
22 MR. GASTWIRTH: Objection to form. 22 area.
47 49 [hi
1 THE DEPONENT: It's possible. 1 Q. What is the strategic alignment of our
2 BY MR. FAUCI: 2 ethical pharmaceutical business?
3 Q. Do you have any reason to believe it 3 A. Again, I think it is relative to what
4 wasn't sent to Roxane employees? 4 we have spoken about before. For those product: i
5 A. I don't know whether it was or wasn't 5 being used for the treatment of diseases in humay F
6 to be honest with you. 6 beings. So for -- again, on the strategic level =:
7 Q. Do you see at the second page that this 7 for products marketed within BIPI and Roxane |
8 document was signed by--I might mispronounce hig 8 Laboratories.
9 name--Werner Gerstenberg? 9 Q. Inthe next sentence it states, As in
10 A. Yes. And that's correct by the way. 10 other countries business will develop in line
11 Q. Thank you. 11 with the strategy of the strategic business unit
12 Who is Mr. Gerstenberg? 12 (SBU) ethical pharmaceuticals BIGmbH. What is i
13 A. Mr. Gerstenberg was the CEO of 13 the strategic business unit ethical
14 Boehringer in the United States. 14 pharmaceuticals BIGmbH? :
15 Q. And by Boehringer in the United States, 15 A. Again, on a global basis Boehringer was
16 do you mean BIPI? 16 organized within a business unit framework. So
17 A. I mean all the divisions. The total 17 as we've talked about a business unit --
18 company. 18 strategic business unit in the United States, you
19 Q. So was he the CEO of BIC? 19 can expand that from various operative units
20 A. You know, again, I don't know what the | 20 around the world into the parent company whichl[:
21 legal aspects were, but he was basically the 21 had ahead of strategic business unit ethical
22 overall country manager for the United States. pharmaceuticals.

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14 (Pages 50 to 53)

50

52

1 Q. Ifyou'd turn to page two. 1 development. So really looking at opportunities
2 A. Yeah. 2 for new business within the Roxane business
3 Q. The first paragraph. The first 3 entity.
4 sentence says, In order to create a unified 4 Q. The employee bulletin states that you
5 management for our ethical pharmaceutical 5 were the executive vice president of BIPI.
6 business in the U.S, Edward Tupa, vice president] 6 A. Correct.
7 sales and marketing, Roxane Laboratories, and 7 Q. And it also says that you were a vice
8 Fred Duy -- Is that correct? 8 president of BIC; is that correct?
9 A. Correct. 9 A. Correct.
10 Q. -- vice president business planning and 10 Q. How were these -- Were there different
11 development also of Roxane Laboratories will 11 job responsibilities as executive vice president
12 report to Shelly. 12 of BIPI and vice president of BIC, or were they
13 A. Will report functionally to Shelly. 13 the same type of responsibilities?
14 Q. Will report functionally to Shelly. 14 MR. GASTWIRTH: Objection to form.
15 Thank you. 15 THE DEPONENT: Again, my primary
16 A. Key word. 16 responsibility was within BIPI. You know, and
17 Q. Who is Mr. Tupa? 17 again, I reemphasize that it was directed towards
18 A. Mr. Tupa worked within the Roxane 18 growing the branded business within BIPI.
19 business entity. 19 BIC really -- I would define it as a
20 Q. Do you know what his responsibilities 20 holding company. And I was an officer within
21 were at Roxane? 21 BIC, but BIC really didn't have a direct
22 A. Responsible as it says here for sales 22 business, as we've talked about before.
51 53
1 and marketing of Roxane products. 1 BY MR. FAUCI:
2 Q. Would that include multi-source 2 Q. Were you an officer at any other -- any
3 products? 3 other Boehringer Ingelheim companies besides BIPI}};
4 A. Yes. 4 and BIC?
5 Q. Would it include branded generic 5 MR. GASTWIRTH: Objection to form.
6 products? 6 THE DEPONENT: No.
7 A. Yes. 7 BY MR. FAUCI:
8 Q. What does it mean that Mr. Tupa 8 Q. Which company paid your salary?
9 reported functionally to you? 9 A. I believe it was BIPI that paid my
10 A. Basically that means there was a dotted | 10 salary.
11 line responsibility to me and a direct report and| 11 Q. Did you receive a salary from BIC?
12 responsibility to the president of Roxane 12 A. No.
13 Laboratories. 13 Q. Did you sit on any boards of directors
14 Q. A dotted line responsibility. Can you 14 for Boehringer Ingelheim companies?
15 explain what that means. 15 MR. GASTWIRTH: Objection to form.
16 A. Again, I go back to what I've said 16 THE DEPONENT: The only board -- The
17 before. I really had a strategic involvement 17 only direct position I believe I had was with --
18 with Roxane, not an operational day-to-day 18 was with Roxane Laboratories.
19 involvement. 19 BY MR. FAUCI:
20 Q. And Fred Duy, can you tell me a little 20 Q. Do you know approximately how long you
21. bit more about his responsibilities. 21. served on the Roxane board?
22 A. Basically, as it says here, business 22

Se Rae Ae ca cE aR Sa TAT MRS EE NE i EET ELSE

ea cba fase alas POO ME Ce Te SEL LE CEE EY

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A. Off the top of my head I can't

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Ba STS Se ee

16 (Pages 58 to 61)
58 60
1 A. I--A slight variation of that. I 1 And as IJ think we talked about
2 think this refers to the Roxane component of the} 2 previously in the document, just slightly above
3 strategic business unit. It doesn't refer to the 3 that particular line, there's two components of
4 BIPI component, which is purely branded. 4 the Roxane business, multi-source generic and
5 Q. So there was -- 5 branded generic.
6 A. Really three. 6 So for the branded generic products
7 Q. I'm sorry. What do you mean by really 7 there was only a few of them. Those people
8 three? 8 within the Roxane business entity did report
9 A. Again, this is -- this refers only to 9 functionally to designated people within the BIPI
10 Roxane Laboratories. 10 organization, but the day-to-day operations were||:
11 Q. Okay. 11 still conducted by Roxane people.
12 A. Okay? That's -- 12 Q. Okay. The last sentence of this same
13 Q. And so there was a Roxane Laboratories 13 paragraph reads, The contracting and pricing
14 component of the business unit? 14 departments will be combined for ROI and BIPI.
15 A. Yes. According to -- According to this 15 Do you recall if this -- ifthis happened?
16 anyway definition. 16 A. This happened really from the
17 Q. The third sentence down in the same 17 administrative perspective, so that there was --
18 paragraph it says, Sales and marketing for 18 you know, the actual establishment of pricing or ||:
19 branded generics will report to BIPI 19 contracting was done by individuals within the
20 counterparts. Are branded generics, are those 20 Roxane business entity, but the processing of the :
21 Roxane products? 21 administration, the submission of prices, were
22 A. Yes, they were. 22 done by a central unit within -— within BIPI that |f:
59 61
1 Q. Why are Roxane sales and marketing 1 had that responsibility for both BIPI and Roxane.
2 reporting to their BIPI counterparts? 2 Q. Why were they combined in this way?
3 MR. GASTWIRTH: Objection to form. 3 A. Again, it was -- it was a synergistic
4 That's not what this document says. 4 decision in the sense of rather than having two
5 BY MR. FAUCI: 5 separate organizations making submissions it mad
6 Q. Well, I can -- Let's just look at the 6 sense to -- from an efficiency point of view to
7 sentence. It says, Sales and marketing for 7 combine that.
8 branded generics will report to BIPI 8 Q. And submissions to who?
9 counterparts. Can you tell me what -- what you 9 A. To wherever, you know, pricing or
10 think that sentence means? 10 contract -- contracts had to be submitted to.
11 A. Well, I can tell you what the situation 11 MR. FAUCTI: I think it’s a good time
12 actually was. 12 for a quick break.
13 Q. Okay. That's -- 13 THE DEPONENT: Sure.
14 A. Okay. And -- And again, because I 14 THE VIDEOGRAPHER: It's 9:59. We're
15 certainly can't recall having seen this document, | 15 going off the record.
16 and I certainly didn't write this document. 16 (Short break was taken.)
17 The situation was that there were 17 (Exhibit Berkle 005 was marked.)
18 people within the Roxane organization, within thq 18 THE VIDEOGRAPHER: It's 10:24. We're
19 Roxane business unit, business entity that had 19 back on the record.
20 responsibility for the day-to-day operations and 20 BY MR. FAUCI:
21. the various functions, including marketing and 21 Q. Welcome back, Mr. Berkle.
22. sales. 22 A. Thank you.

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20 (Pages 74 to 77)
74 76 |:
1 MR. GASTWIRTH: I'm -- And just to 1 made a larger profit margin when he or she
2 respond to that commentary by counsel, I'm not 2 dispensed a Roxane product?
3 instructing the witness not to answer these 3 MR. GASTWIRTH: Objection to form. {f:
4 questions, I'm just objecting to the extent that 4 THE DEPONENT: As I said before, I was !
5 questions are being asked about documents that 5 not involved in the day-to-day operations of i
6 were not provided to the witness about his 6 Roxane or in basically how they set their prices
7 understanding of terms or phrases within 7 in general or how they marketed their generic
8 documents he's never seen before. 8 drugs. I really did not get involved. So I am
9 MR. BREEN: You're giving this witness 9 not aware whether they did or didn't do the type
10 the answer. It's improper and I object to it. 10 of thing that you said.
11 MR. GASTWIRTH: Okay. 11 BY MR. FAUCI:
12 THE DEPONENT: Could you repeat the 12 Q. And I'll ask a similar question. Do
13 question. 13 you recall if Roxane ever promoted the profit '
14 BY MR. FAUCI: 14 margin available on its products as a reason for :
15 Q. Sure. The language I read, the bolded 15 a pharmacist to dispense the product? :
16 language in paragraph three -- 16 MR. GASTWIRTH: Objection. ;
17 A. Uh-huh. Right. 17 THE DEPONENT: I'm not aware of that.
18 Q. -- does that language -- do you 18 BY MR. FAUCI: !
19 understand -- can you tell me what you understand] 19 Q. Are you familiar with the /
20 that language to mean? 20 pharmaceutical product known as Ipratropium i
21 A. Yeah. How do I -- How do I answer 21 Bromide? :
22 that? You know, I read it. I under -- you know,| 22 A. Yes, II am. /
75 77
1 based on what it says here -- You know, I'm just 1 Q. What is that?
2 going to repeat what it says. It says that the - 2 A. Ipratropium Bromide is a human
3 -a pharmacy is reimbursed by the payer on a 3 pharmaceutical product that was originated withi ;
4 formula AWP less a defined percentage plus a 4 Boehringer research and marketed as an original
5 dispensing fee. So ultimately the money that 5 brand named Atrovent marketed by BIPI in the :
6 goes to the pharmacy. 6 United States. It is used in the treatment of :
7 Now, other than reading it and taking 7 chronic obstructive lung disease.
8 it exactly what it says, I don't know whether 8 Q. Is Atrovent a BIPI product? :
9 it's right or wrong or -- you know, I certainly 9 A. Yes, it is.
10 don't offer any other opinion beyond what the 10 Q. And is it fair to characterize Atrovent ;
11 actual words say. 11 asa branded product? ;
12 Q. Did Roxane ever set AWPs for its 12 A. Yes, it is. :
13 products to ensure that a pharmacist made a 13 Q. And Ipratropium Bromide, is it fair to
14 larger profit margin when he or she dispensed the 14 say that's a generic equivalent of Atrovent? :
15 Roxane product? 15 A. Yes, it is. ‘
16 MR. GASTWIRTH: Objection. Can I hear 16 Q. Were you involved in any way in making :
17 that question back for a second, please. 17 decisions about the marketing or pricing of :
18 THE COURT REPORTER: Actually, Counsel,| 18 Ipratropium Bromide?
19 can you repeat that. 19 MR. GASTWIRTH: Objection to form. ;
20 BY MR. FAUCI: 20 THE DEPONENT: You're talking about the
21 Q. Sure. Do you know if Roxane ever set 21. generic version?
22 AWPs for its products to ensure that a pharmacist 22 BY MR. FAUCI:

Tse a ec I RL cea UAT WEN PRIM NT GE DES 2 EBT RL SEU TRA I DG SARA Rg WRU ar TRIBE RRM LAE eS EDEL ARN RAR BS MEADE an Pence ARES NOAM OEE
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32 (Pages 122 to 125)

PRP
Wn Ou ON HA MU BWDP

rR
ws

PPP Rp
ou nw

NN NM F
NY FP oO Ww

122

No.
Who -- Have you seen this document?
I can't recall.

OP OP

Do you have any reason to believe that
you didn't see it?

A. I can't answer that yes or no.

Q. Is it -- This is a marketing plan for
Ipratropium Bromide; is that correct?

A. It appears to be.

Q. Is it likely you would have been sent a
copy of a document like that?

MR. GASTWIRTH: Objection to form.
THE DEPONENT: It's possible.
BY MR. FAUCI:

Q. I'm going to direct your attention to
page five. It's the internal page numbers.
There's a bunch of Bates numbers below, but --

A. Right. Yeah.

Q. Itsays pricing. Do you see that?

A. Yes, I do.

Q. Can you read me the first two
sentences.

on TH WM fF W DN

124 |
is to create an attractive spread between WAC and
AWP encouraging accounts to convert from the
brand name to the generic product as quickly as

possible.

Do you have any reason to dispute that
the purpose of the pricing structure was as it is
stated in the marketing plan; i.e., to create an
attractive spread between the WAC and AWP

encouraging accounts to convert from the brand

name to the generic product as quickly as

possible?
MR. GASTWIRTH: Objection to form.
THE DEPONENT: Yeah. The only comment’
I'll make to that is that, you know, certainly my

understanding was -- on pricing for Roxane was to
ensure that they were competitive. Beyond that
I'm not prepared to make any comments.
BY MR. FAUCI:
Q. Would you have approved of this plan

had you seen that the stated reason for the :
pricing structure was to create an attractive i
spread between WAC and AWP?

oxy nu FPF WwW DY HP

PPP PP BP BB
I Nn HU FB wWN FP OO

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Te tae a SR ALES ee SR LL AAS SUSAN PLS a Ce RS ST SM SAS SASHES EEC CUS BE a SCIACCA Rc Ee WR RRA HACE A EEA AAR OC

123

A. Under pricing?

Q. Yes.

A. Pricing of the IB UDV will need to
follow the traditional parameters of a generic
product. Specifically AWP will be brand less 10
percent or $44.06 for the 25-count package. WAC
will be AWP less 40 percent or $26.44 for the 25-
count package.

Q. Is that -- Is it your under -- In your
understanding is it typical that the AWP for a
generic product would be AW -- would be brand
less 10 percent?

MR. GASTWIRTH: Objection to form.

THE DEPONENT: Again, my familiarity
was primarily with the branded products where we
set a wholesale acquisition cost and that I
cannot tell you what precisely is common relative
to AWP which from my perspective was familiar --
was more associated with generic drugs.
BY MR. FAUCI:

Q. The next sentence, The reason this type

of price structure is used for a generic launch

PPP eRP Pe
PBwnNerP OH MAI HU PWN PB

BPP PP
on nu

N
Oo Ww

21
22

125 |f

MR. GASTWIRTH: Objection to form.
THE DEPONENT: I'm not going to i
speculate on that. In general I've said to you
before that I really did not get involved in the
details of pricing for the generic products

within the Roxane line.
BY MR. FAUCI:
Q. I think we're going to move on from
that document.
A. Okay.
MR. FAUCTI: It is 11:57. I'm happy tof:
keep going. Lunch isn't here. :
MR. GASTWIRTH: That would be fine.
MR. FAUCI: Stop whenever people are
ready.
BY MR. FAUCI:
Q. I'm going to show you a document the
court reporter will mark as Exhibit 15.
(Exhibit Berkle 015 was marked.)
BY MR. FAUCI:
Q. Please take a moment.
A. Okay.

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Do ASU cpa NW LOO OTS USL ASS CS SUSI CALARTS aS Ue AREAL EMIS eR A eee el HEN EMSA ee eee MLN

Q. Subject, Atrovent IB solution. Do you

33 (Pages 126 to 129)
126 128 :
1 Q. Have you seen this document? 1 see that? :
2 A. I don't recall. 2 A. Yes, I do. :
3 Q. It looks like an early version of an e- 3 Q. I'm going to look at the second :
4 mail. 4 paragraph.
5 A, You're right. 5 A, Ub-huh. :
6 Q. Itseems to be from Jim King. Regards, 6 Q. Just so you are clear on sales :
7 Jim King. Do you see that at the bottom? 7 commissions, if Roxane's Ipratropium Bromide is ;
8 A. Yes, I do. 8 sold or if an Atrovent solution is sold, you get
9 Q. Who's Jim king? 9 credit for it. It is in the corporation's best i
10 A. Jim King was vice president of sales 10 interest to shift business to Roxane as quickly i
11 reporting to me. 11 as possible.
12 Q. For BIPI? 12 Did sales personnel -- BIPI sales ;
13 A. For BIPI. For BIPI, sorry. 13 personnel get credit for sales whether or not i
14 Q. Did he have responsibility for Roxane 14 they were BIPI products or Roxane products?
15 as well? i5 MR. GASTWIRTH: Objection to form. |,
16 A. No, he did not. 16 THE DEPONENT: I can only -- :
17 Q. Inthe "to" line it's to a bunch of 17 BY MR. FAUCI: ;
18 different groups it seems; all RDs. What does 18 Q. Go ahead. ;
19 that mean? 19 A. I can only say according to this they
20 A. Regional directors that would have been 20 did.
21 reporting directly to Jim King. 21 Q. Do you have any reason to believe they |;
22 Q. Would they be in the trade relations 22 didn't?
127 129
1 group? 1 A. No, I don't.
2 A. No. 2 Q. Had you seen this e-mail or known of :
3 Q. What -- What group would they be in? 3 this, would you have approved of BIPI people
4 Where do they fall in the company? 4 getting credit for Roxane sales?
5 A. What's called the sales group. 5 A. I would have been aware of it and I 4
6 Basically responsible for medical representatives 6 would have approved it.
7 calling on physicians. 7 Q. You would have approved it? '
8 Q. And those people, would they be BIPI 8 A. Yeah. The reason being is that -- and
9 employees? 9 again, I'm making certain assumptions here, that :
10 A. Yes, they would. 10 this was during only -- this was only for a
11 Q. And they would be responsible just for 11 period of time. Okay. And this was the period ,
12 BIPI products? 12 of time when Roxane was preemptively launching|
13 A. Yes. 13 Ipratropium Bromide.
14 Q. What about DMs? 14 Okay. So the agreement was that :
15 A. DM stands for direct managers and they | 15 Boehringer medical reps would still be promotin
16 report to the regional directors. 16 the compound to physicians and to hospital
17 Q. And then reps? 17 physicians, therefore, trying to grow the market :
18 A. Reps are individual sales reps 18 penetration of Ipratropium within the respirato
19 reporting to the DMs. 19 marketplace.
20 Q. And all these people are BIPI? 20 And because they were putting an effort
21 A. Yes, they are. 21 but allowing -- but allowing Roxane to sell a

generic version during that exclusive period that

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47 (Pages 182 to 185)

182

184 ||:

1 BY MR. FAUCI: 1 MR. GASTWIRTH: Objection to form. i
2 Q. Who was that? Do you recall who the 2 THE DEPONENT: The Texas case was after
3 CFO was? 3 [had retired from BIPI. :
4 A. At that -- I don't know what -- What's 4 BY MR. FAUCTI:
5 the date here? 5 Q. When you left, were you -- That's fine.
6 Q. I think the date is around the 1998 6 The question is, when you left, did anybody tell
7 time frame. Signed 8/25/98. 7 you that you should look through your documents
8 A. Probably Holger Huels. 8 and set aside certain documents? :
9 Q. And just for the record it was signed 9 A. No. :
10 by the wholesaler on 8/25/98 and by Roxane Labs} 10 MR. GASTWIRTH: Objection to form. :
11 on 10/28/98. 11 BY MR. FAUCI: ,
12 A. Gotcha. 12 Q. What number was that, 26? :
13 Q. Moving on. I'm going to mark as 13 A. 26, yeah. :
14 Exhibit 26 -- I shouldn't do that, let the court 14 Q. I'm going to show you a document which
15 reporter do that. 15 the court reporter will mark as 27. :
16 (Exhibit Berkle 026 was marked.) 16 (Exhibit Berkle 027 was marked.) :
17 MR. FAUCI: Just so counsel for the 17 BY MR. FAUCI: :
18 Defendant knows, this is an amended notice of 18 Q. Take a moment to familiarize yourself.
19 deposition. 19 A. Okay. :
20 BY MR. FAUCTI: 20 Q. Turning to the second page.
21 Q. Have you ever seen this document? Feel | 21 A. Allright.
22 free to read it. 22 Q. Actually just go to the back. There's
183 185 |
1 A. Yes. 1 two documents here. There's a cover one. :
2 Q. When was the first time? 2 A. Yes. :
3 A. This is the amended copy? 3 Q. I'm going to mostly focus on the second :
4 Q. Yes. Although I can represent that the 4 part of it. Is it fair to say that you drafted ‘
5 only change on that from there to the original is 5 pages two through four of this? :
6 the location. 6 A. I'm sorry? \
7 A. So the original was about a week ago. 7 Q. Is it fair to say that you drafted :
8 Q. Were you asked to look for documents 8 pages two through four of this? :
9 prior to this deposition? 9 A. It's got my signature on it so I assume
10 A. Yes, I was. 10 that's so. :
11 Q. Did you find any? 11 Q. Do you recall drafting this?
12 A. No, I did not. 12 A. Not specifically. :
13 Q. Where did you look? 13 Q. Is this an employee bulletin? Do you
14 A. Where did I look? In my home. 14 see that at the top? i
15 Q. That's good enough. 15 A. Yes. :
16 A. Yeah. 16 Q. Who do you -- Who did you understand :
17 Q. When you left BIPI in late 2003, were 17 that this employee bulletin would go to?
18 you asked to look for documents or search for e-| 18 A. I would assume that it was directed
19 mails in connection with the Texas case that 19 towards BIPI and Roxane employees.
20 we've talked about previously or any other case | 20 Q. I'm going to look at the paragraph
21 involving allegations about average wholesale 21 beginning, As we are all aware. Do you see that? |};
22 price? 22 A. Yes. :

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48 (Pages 186 to 189)
186 188 i
1 Q. As we are all aware, we have taken 1 strengthening the synergy between our solid
2 several steps in the past two years to increase 2 liquid dosage and injectable multi-source (
3 the level of business unit collaboration and 3 businesses. Is that what you talked about :
4 focus across organizations; ¢.g., business unit 4 earlier with Ben Venue being an injectable
5 operating committee, ethical pharmaceutical 5 company? :
6 committee. 6 A. Correct. So the solid liquid dose was :
7 Would you agree that -- Is that your 7 referred to Roxane and the injectable referred
8 recollection now that over the past two years 8 to Ben Venue.
9 leading up to 1998 you took several steps to 9 Q. It says, I've asked Tom Russillo to
10 increase the level of business unit 10 take on this critical and complex challenge. ;
11 collaboration? 11 Multi-source marketing within RLI, Roxane, now :
12 A. Again, the goal would be to create eff 12 will report to Tom. Who's Tom Russillo? :
13 -- efficiencies and synergies where it made 13 A. Tom Russillo was president of Ben Venue
14 sense. However, Roxane and BIPI were always 14 Laboratories and obviously with this change too ‘
15 separate entities, they were always separate 15 over responsibility for the multi-source business
16 management within each entity and the day-to-day 16 within Roxane as well. ;
17 business for each of those entities was done 17 Q. Was Tom Russillo at Ben Venue prior to
18 within that entity. 18 its acquisition by the Boehringer Ingelheim /
19 Q. It says, The changes I will describe in 19 family? |
20 this announcement build on this foundation. 20 A. Yes, he was.
21 These changes also are designed to build on the 21 Q. Do you know if Russillo came to work
22 strengths of Boehringer Ingelheim 22 for Roxane?
187 189 |
1 Pharmaceuticals, Inc., BIPI, Roxane Laboratories 1 MR. GASTWIRTH: Objection to form. :
2 and Ben Venue Laboratories while achieving much 2 THE DEPONENT: I believe he was a Ben :
3 greater synergy across the entire business unit. 3 Venue employee, but you would have to check that /
4 Do you see that? 4 with people more in the know than I.
5 A. Yes, I do. 5 BY MR. FAUCI:
6 Q. We've talked about synergy a bit 6 Q. But it's fair to say regardless of who :
7 earlier today. What does it mean to increase the 7 he formally worked for that Roxane employees
8 synergy across the entire business unit? 8 reported to him? i
9 A. Again, to do away with wasted effort in 9 A. Yes. ;
10 the sense that you have duplication of -- of 10 Q. I'm going to look down at another :
11 effort in various functions. And where it made 11 bullet point. It says, To ensure that we are
12 sense to amalgamate services that were common t) 12 bringing BIPI's medical and drug regulatory :
13 the various companies and divisions, then we 13 affairs’ knowledge to bear on both our multi-
14 attempted to do that. But, again, the day-to-day | 14 source and specialty products, Roxane'’s, or
15 operations for each of those businesses was 15 RLI's, medical and drug regulatory affairs’
16 conducted and carried out by management within) 16 current product will report with Doug Wilson's
17 those divisions. 17 BIPI medical/DRA organization. What are the
18 Q. Ifyou look at the next page, the first 18 medical and drug regulatory affairs departments?
19 bullet point. 19 A. Again, these are the people within that ||;
20 A. Okay. 20 organization that are responsible for conducting
21 Q. We want to expand our important multi- 21 clinical research and for liaising with the FDA.

source business by capitalizing on and

It says that RLI's medical and drug

SS

Q.

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49 (Pages 190 to 193)
190 192 |;
1 regulatory affairs will report within Doug 1 able to allow Roxane to benefit from the ;
2 Wilson's BIPI/DRA organization. Why was that?} 2 expertise within BIPI.
3 A. Again, in order to create efficiencies. 3 But, again, I emphasize that the day- E
4 Q. What type of efficiencies could that 4 to-day operations were conducted for the Roxane :
5 create? 5 branded products -- branded generic products
6 A. BIPI had a large department, you know; 6 within the Roxane structure. j
7 consisting of many more physicians, 7 Q. Next bullet point it says, BIPI and RLI :
8 statisticians, et cetera. So it would allow 8 contacting will be combined into a single i
9 Roxane -- people responsible for these areas to 9 organization. What are BIPI and RLI contracting? :
10 tap into the larger BIPI medical regulatory 10 I'm on the next page, I'm sorry, the :
11. organization. 11 last bullet point.
12 Q. Next bullet point it says, RLI branded 12 A. Okay. Again, these are the -- this is :
13 and specialty products. Are those branded 13 the department that would set up contracts with |
14 generics? 14 purchasing groups or distributors of the BIPI an j
15 MR. GASTWIRTH: Objection to form. 15 Roxane products.
16 THE DEPONENT: [ assume it's branded 16 Q. What do you mean set up contracts? :
17 generics. 17 A. Again, if there was a -- a distribution ‘
18 BY MR. FAUCI: 18 agreement that was negotiated with a purchasing :
19 Q. Our RLI branded and specialty products 19 group or a wholesaler or a -- you know, any othe
20 will become an important component of our 20 distributor, that a contract would be put :
21 national and international business strategy. We | 21 together representing the terms of the agreement
22 want to expand our support to these products by | 22 between the two parties. :
191 193
1 increasing the degree of collaboration between 1 Q. Next sentence it says, John Powers will
2 the marketing of RLI product lines and BIPI 2 lead the day-to-day management of this operation. i
3 product lines. Do you see that? 3 He did lead the day-to-day management for BIPI
4 A. Yes, I do. 4 and Roxane?
5 Q. How would increasing the degree of 5 MR. GASTWIRTH: Objection to form. i
6 collaboration between Roxane and BIPI marketing 6 THE DEPONENT: You know, I recall that
7 be beneficial? 7 he was predominantly involved on the Roxane's :
8 A. Again, this was specific to the branded 8 products, but I can't recall specifically beyond
9 -- RLI branded products. So at that time BIPI of] 9 that. :
10 course had a much greater expertise and 10 BY MR. FAUCI:
11 experience in marketing these types of products. | 11 Q. You drafted this document, correct?
12 Keep in mind that Roxane was made up of | 12 A. I did. This was also ten years ago. f
13 a couple different types of businesses. The 13 Q. I'm going to ask you to go back to the
14 multi-source, which was very -- and then they had 14 second page. The first page of this document, ;
15 these so-called branded generics, which they 15 second page of the exhibit. :
16 hoped to market more along the lines of a true 16 A. Right. ;
17 original brand such as contained in the BIPI 17 Q. By the year 2004, very beginning, our :
18 product line. 18 ethical pharmaceutical business is expected to :
19 And strategically we made the decision, 19 generate in the USA more than 40 percent of ;
20 fine, let's see what we could do and it made 20 Boehringer Ingelheim's worldwide ethical

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21

21 sense to combine, you know, at certain levels the i
22 reporting relationship to add to be able -- to be 22 understand what that means. Can you tell me wha

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pharmaceutical business. I'm just trying to

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58 (Pages 226 to 229)
226 228 i

1 A. I believe it was -- The committee was 1 Judy Waterer. It says, Attached is a document

2 put in place certainly for BIPI products, but I 2 called standby statement, Furosemide price

3 don't want to say that I'm absolutely sure it was) 3 change. Do you see that?

4 for Roxane only because of what I told you 4 MR. GASTWIRTH: Objection. Form.

5 previously. I knew that there were discussions 5 THE DEPONENT: Yes, I do. :

6 taking place to divest of part of the branded 6 MR. GASTWIRTH: I believe you just :

7 generic line and -- relative to Viramune. SoI'm| 7 switched the from and the to. :

8 not -- my memory fails me. I'm not a hundred 8 BY MR. FAUCI: ;

9 percent sure. 9 Q. Fair enough. The document is from Judy '
10 Q. You can put that aside now for real. 10 Waterer to Lesli Paoletti. I stand corrected.
11 A. Okay. 11 It says, Here's a shot at it, please ;
12 Q. Are you familiar with the 12 make modifications as you see fit, then pass it
13 pharmaceutical product known as Furosemide? 13 by Pam Demala. Who's Pam Demala? i
14 A. As an ex-pharmacist, yes. 14 A. Pam Demala was a BIPI -- either BIPI or||
15 Q. When were you a pharmacist? 15 BIC employee, I'm not sure, but certainly withinll:
16 A. Many years ago. I graduated with a 16 the BI side, in the public relations area. ;
17 pharmacy degree. I really didn't -- I practiced | 17 Q. Why would a Furosemide price change be |
18 for an extremely short period of time. 18 passed by Pam Demala? ;
19 Q. What is Furosemide? 19 A. [haven't got a clue. :
20 A. Furosemide is a generic name for a 20 Q. And it says that, You may need to call
21 diuretic, a so-called water pill. 21 her and let her know the background, she'll
22 Q. Was it a BIPI product? 22 probably want to pass it by Berkle and Russillo

227 229 |}

1 A. No, it was not. 1 as well. Any idea why Ms. Waterer would think

2 Q. Do you know if it was a Roxane product? 2 that Pam Demala would want to pass it by you? |

3 A. I think it was within the Roxane multi- 3 A. Idon'tknow. And the only other i

4 source product line. 4 comment I would make is I'm not sure in the

5 Q. It's not a brand of generic, is it? 5 timing but there's somewhere in 2000 that we -- ||;

6 A. Itis not. 6 we totally changed the structure of the :

7 Q. I'm going to hand you Exhibit Number 7 organization and I really was no longer involved||

8 32. 8 in the Roxane business after that point in time. :

9 (Exhibit Berkle 032 was marked.) 9 SoI don't know whether this coincides with thad :
10 THE DEPONENT: Okay. 10 time period or not.
11 BY MR. FAUCI: 11 Q. Do you remember around this time Roxane
12 Q. Are you familiar with this document? 12 -- Do you have any knowledge about the fact that |}:
13 A. No, I'm not. 13 around this time Roxane raised the AWPs for its
14 Q. Who's Judy Waterer again? 14 Furosemide products? :
15 A. She was a Roxane employee. 15 MR. GASTWIRTH: Objection. Form. I'm :
16 Q. Do you know who Lesli Paoletti was? 16 sorry. Can I hear that back, please. :
17 A. You know, the name is vaguely familiar) 17 (Record was read by the court
18 but I couldn't even tell you what position she 18 reporter.) :
19 held. She was a Roxane employee. 19 MR. FAUCI: I can read it again if i
20 Q. She was at Roxane? 20 you'd like. i
21 A. Yeah. 21 MR. GASTWIRTH: Thanks.
22 Q. It's an e-mail from Lesli Paoletti to 22 BY MR. FAUCI:

PA do CLs TERIOR N WOH AR NEEUAROM Sl REPS RAL AIGA RAI ARS NS SS eS GL RE LS SURGE TLL SERVLET PERI GEM NA, Be shALAMN OR AUIS Kase AEP LRT aR ESOC E

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59 (Pages 230 to 233)

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what's been marked as Exhibit 34. It's a very
lengthy document. Feel free to read it, but I'm
going to direct your attention to specific parts
of it, so just tell me when you feel ready to
have some questions -- have some questions asked.
MR. BREEN: Did you already mark this
one?
MR. FAUCI: Yep. 34.
THE DEPONENT: Okay.
BY MR. FAUCI:
Q. Do you recognize this document?
A. Not specifically.
Q. Look at the first page. It appears to
be an e-mail from Fred Duy. Who's he?

1 Q. Do you have any recollection whether 1 A. Fred was a Roxane employee.

2 around the 2000 time frame Roxane raised the AWP$ = 2 Q. And it's sent to you, Shelly Berkle? :

3 for its Furosemide products? 3 A. Yes, it is.

4 A. I'm not aware. 4 Q. Subject, Roxicodone 15/30mg launch |

5 Q. We can move on from that document. 5 plan. Do you see that?

6 Can we go off the record for two 6 A. Yes,Ido. !

7 minutes. 7 Q. And then does the attachment to this e- /

8 THE VIDEOGRAPHER: It's 3:14. We're 8 mail appear to be a launch plan for Roxicodone? :

9 going off the record. 9 A. It certainly appears to be at least a :
10 (Short break was taken.) 10 summary ofa launch plan. Highlights. ,
11 (Exhibit Berkle 033 was marked.) 11 Q. Is Roxicodone a Roxane product? :
12 THE VIDEOGRAPHER: It's 3:28. We're 12 A. Yes, it was. :
13 going back on the record. 13 Q. Second sentence of the e-mail, The :
14 BY MR. FAUCI: 14 strategy is essentially what you saw in
15 Q. Mr. Berkle, I've handed you what's been 15 Tarrytown. What's Tarrytown? :
16 marked as Exhibit 33. 16 A. It's -- Tarrytown is a town in New Yor
17 A. Yes. 17 State close -- just across the border from
18 Q. Can you take a moment to familiarize 18 Connecticut. i
19 yourself with it. 19 Q. What brought you to Tarrytown?
20 A. Okay. 20 A. I'm sorry?
21 Q. What's the subject line of this e-mail? 21 Q. What brought you to Tarrytown?
22 A. Itsays Furosemide tablet AWP 22 A. Well, there's a conference that was

231 233 :

1 adjustment. 1 utilized frequently for meetings by -- by the

2 Q. Have you read or seen this before? 2 BIPI people, BIPI/Roxane people.

3 A. No, I have not. 3 Q. Do you recall -- The strategy is

4 Q. That's all. We're going to do another 4 essentially what you saw in Tarrytown. Do you

5 document. 5 recall being exposed to strategies relating to a

6 (Exhibit Berkle 034 was marked.) 6 launch document in Tarrytown?

7 BY MR. FAUCI: 7 A. [can't -- I can't remember

8 Q. The court reporter has handed you 8 specifically that meeting. You know, certainly ]}

was at multiple meetings over the years in

Tarrytown, but I can't remember the details.

Q. It goes on to say that, It--I think the
strategy--has been updated and expanded with
specific tactics by Doug Bierl with input from
lots of people here and in Ridgefield. Who's
Doug Bierl?

A. I haven't got a clue.

Q. What's Ridgefield?

A. Ridgefield is the town -- location of
BI Pharmaceuticals.

Q. Where was Roxane?
A. In Columbus, Ohio.
Q. Ridgefield means BIPI?

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79 (Pages 310 to 313)
310 312 :
1 A. Again, as I testified earlier during 1 where I was not involved in pricing for multi- :
2 the day, on a strategic level, but I was not 2 source products in general. ;
3 involved on the -- in the day-to-day operations 3 Q. Can I direct your attention to the
4 and certainly not involved in the pricing 4 document that's been marked Exhibit 31, please.
5 decisions in general. 5 A. Okay. Got it.
6 Q. Do you still have your exhibits handy? 6 Q. This document is an e-mail dated May :
7 A. They're on the floor next to me. 7 3rd, 2001 from Dan Gerrity, correct? 5
8 Q. Okay. May I ask you just to put them 8 A. Correct. :
8 upon the table. I'm going to refer to a few of 9 Q. And it says, Please review the attached
10 them now. 10 draft pricing policy?
11 A. Sure. 11 A. Yes.
12 Q. IfI can draw your attention to Exhibit 12 Q. And behind it -- behind the first page
13 35, please. 13 there beginning on page D0120629 there appears to
14 A. Okay. 14 beapricing policy and procedure memorandum.
15 Q. Is Exhibit 35 a memorandum with the 15 A. Yes, I see that.
16 subject heading recommended pricing Roxicodone?] 16 Q. Do you know if this pricing policy and |
17 A. Yes. 17 procedure memorandum was actually ever finalized? ;
18 Q. And it's dated August 22nd, 2000? 18 A. I can't recall whether it was finalized
19 A. Yes. 19 in this -- precisely the same way as it is laid
20 Q. Do you recall that Mr. Fauci asked you 20 outhere. There was a procedure put in place, 3
21 some questions about this document? 21 but I certainly don't recall whether it was :
22 A. Yes, I do. 22 exactly the same as -- as outlined.
311 313 |)
1 Q. Do you see that there's some signature 1 Q. And does this pricing -- this draft
2 blocks on the bottom of this first page? 2 pricing policy and procedure memorandum, does it :
3 A. Yes, Ido. 3 relate to only brand products for Boehringer ‘
4 Q. Can you please tell me who those 4 Ingelheim Pharmaceuticals, Inc., BIPI and Roxane i
5 signature blocks appear to be for. 5 MR. FAUCI: Objection. Form.
6 A. One is for myself and one is for my 6 THE DEPONENT: I believe that's true. :
7 immediate boss Werner Gerstenberg. 7 MR. BREEN: Also objection leading. :
8 Q. Does the signature actually appear 8 BY MR. GASTWIRTH: :
9 under your name with respect to this recommended 9 Q. I'd like to direct your attention to :
10 pricing for Roxicodone document? 10 Exhibit 27, please. :
11 A. No, it does not. 11 A. Yeah, I have it.
12 Q. Earlier this afternoon you testified 12 Q. Okay. The last page of Exhibit 27, i
13 that your focus would have been on WAC in 13 please.
14 connection with your involvement at BIPI, 14 A. Okay. i
15 correct? 15 Q. Do you recall that Mr. Fauci earlier :
16 MR. FAUCI: Objection. Form. 16 today directed you to -- your attention to the
17 THE DEPONENT: Yes. 17 bullet point that begins BIPI -- about three :
18 BY MR. GASTWIRTH: 18 paragraphs down, BIPI and RLI contracting will be :
19 Q. Would you have ever been focused on WAC] 19 combined into a single organization?
20 with respect to Roxane's multi-source business? 20 A. Yes, I see that.
21 A. No. I just reiterate what my question 21 Q. During the time period when you were
22 was -- my answer was on the previous question employed by BIPI, did BIPI always enter into

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80 (Pages 314 to 317)
314 316 A
1 separate contracts with its customers? 1 Exhibit 16. :
2 MR. FAUCI: Objection. Form. 2 A. The one that says "In order to solve"? ;
3 THE DEPONENT: Yes. 3 Q. Yes. Can you read that first line,
4 BY MR. GASTWIRTH: 4 please. ‘
5 Q. Are you aware of whether Roxane entered 5 A. In order to solve this unique
6 into separate contracts with its customers during 6 situation, starting today BIPI will be billed -- |
7 the time period that you were employed by BIPI? 7 filling selected contracted Roxane Ipratropium :
8 A. I believe so. 8 Bromide orders for a set period of time not to
9 Q. Mr. Fauci asked you a few questions 9 exceed the end of 1996 or 300,000 units, bracket, ;
10 about documents that you produced in connection | 10 boxes of 25, bracket. ;
11 with this litigation. Do you remember those? 11 Q. Do you believe that the substitution of ‘
12 MR. FAUCI: Objection. Form. 12 Atrovent for Ipratropium Bromide was a unique :
13 THE DEPONENT: I remember generally 13 situation? :
14 some question relative to that. 14 MR. FAUCI: Objection. Form. :
15 BY MR. GASTWIRTH: 15 THE DEPONENT: Yeah. I would say ;
16 Q. And do you recall that Mr. Fauci asked 16 absolutely it was unique. It was a one-off :
17 you that when you left BIPI did anyone ask you to} 17 situation. ‘
18 look for any documents? 18 BY MR. GASTWIRTH:
19 A. Again, I don't remember the specific 19 Q. So you're not -- do you recall any ;
20 question. 20 other instances when -- when BIPI drugs were :
21 Q. But you remember that kind of line of 21 substituted for Roxane drugs? :
22 inquiry? 22 A. No, I do not. i
315 317
1 A. Yes. 1 Q. As executive vice president for BIPI i
2 Q. Did you ever -- Did you leave your 2 would it have been important for you to :
3 documents at BIPI when you left the BIPI 3 understand the release of the generic Ipratropium
4 organization? 4 Bromide product by Roxane?
5 MR. FAUCI: Objection. Form. 5 A. Yes. Absolutely. i
6 THE DEPONENT: All my -- whatever 6 Q. Why? ;
7 documents were in my possession I left at the 7 A. Again, BIPI marketed the Atrovent :
8 Boehringer offices. 8 brand. It was an important revenue driver. ni
9 BY MR. GASTWIRTH: 9 was aware that the patent would be ending -- ;
10 Q. Okay. And you understand that 10 exclusivity would be ending at a specific period
11 documents have been produced in connection with} 11 oftime. Also Roxane being a sister company we ;
12 this litigation? 12 believed that by working together we could i
13 A. Yes. 13 benefit the overall BI U.S. family of companies |
14 Q. May I direct your attention to Exhibit 14 in the long term if we could work together.
15 16, please. 15 Q. As executive VP for BIPI did you have
16 A. Ihave it. 16 any involvement in the setting of prices for the
17 Q. Do you recall a line of inquiry by Mr. 17 Ipratropium Bromide, the generic? ;
18 Fauci concerning some substitution of Atrovent 18 A. The generic? No, I didn't. ;
19 for some Ipratropium Bromide sales? 19 Can I qualify that I was aware, you ;
20 A. Yes. 20 know, of the price that was ultimately set for i
21 Q. Can I direct your attention to the 21 that because of the joint interest of both :
22 third paragraph, please, of this document, 22 parties. :

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81 (Pages 318 to 321)
318 320 3
1 Q. Did you ever tell Roxane what the 1 employees?
2 prices should be for Ipratropium Bromide though 2 A. Yes, they did. i
3. as executive VP of BIPI? 3 MR. FAUCI: Objection. Form.
4 A. No, I didn't. 4 BY MR. GASTWIRTH: :
5 Q. At the very beginning of today you 5 Q. Did Roxane and BIPI have separate :
6 described BIPI and Roxane as being two separate 6 payrolls? :
7 businesses in 1994. 7 MR. BREEN: Objection. ;
8 A. That's correct. 8 MR. FAUCI: Objection. Form. |
9 Q. During your entire tenure at BIPI, so 9 THE DEPONENT: I believe so. As far as
10 from 1994 to 2003, do you believe that Roxane and] 10 Iknow. :
11 BIPI remained two separate businesses? 11 BY MR. GASTWIRTH:
12 MR. FAUCI: Objection. Form. 12 Q. Did BIPI and Roxane sell different
13 MR. BREEN: Objection. Form. 13 drugs? ;
14 THE DEPONENT: Yes, I do. 14 MR. FAUCI: Objection. Form.
15 BY MR. GASTWIRTH: 15 THE DEPONENT: Yes.
16 Q. Do you believe that BIPI and Roxane 16 BY MR. GASTWIRTH: ;
17 were two separate businesses from the time period {| 17 Q. Did BIPI sell different drugs from :
18 1994 until 2003? 18 Roxane? :
19 MR. BREEN: Objection. Form. 19 A. Yes. Again, just going back to the
20 MR. FAUCI: Objection. Form. 20 previous question, other than, you know, when youl.
21 THE DEPONENT: Yes, I do. 21 mean drug, Ipratropium obviously was a similar
22 BY MR. GASTWIRTH: 22 chemical entity. 4
319 321 |
1 Q. Mr. Berkle, during your tenure at BIPI 1 Q. But there was a separate Ipratropium |
2 did you view Roxane, BIPI and BIC as separate 2 Bromide generic in Atrovent which was a brand of :
3 independent companies? 3 generic, correct?
4 MR. FAUCI: Objection. Form. 4 A, There was a differentiation based on ;
5 THE DEPONENT: Yes, I did. 5 label. :
6 BY MR. GASTWIRTH: 6 Q. Can you please explain the ;
7 Q. Did you treat -- During your tenure at 7 differentiation -- Strike that.
8 BIPI did you treat Roxane, BIPI and BIC as 8 How were the drugs that were sold by {
9 separate independent companies? 9 Roxane and BIPI different during the time period
10 A. Yes. 10 that you were employed at BIPI?
11 Q. Did Roxane have separate offices from 11 A. BIPI sold unique original -- original 3
12 BIPI? 12 researched compounds and one -- one-unique, one i
13 A. Yes. 13 only type drugs. And Roxane sold predominantly
14 Q. Where were Roxane's offices located? 14 products that were multi-source, meaning that |
15 A. Columbus, Ohio. 15 they were multiple competitors of the same 4
16 Q. Where were BIPI's offices located? 16 chemical entity on the marketplace. i
17 A. Ridgefield, Connecticut. 17 Q. Do you believe that the prices are set
18 Q. Did BIC have separate offices from both | 18 differently for branded drugs as compared to
19 BIPI and Roxane? 19 generic drugs?
20 A. BIC was situated at Ridgefield, 20 MR. FAUCI: Objection. Form.
21 Connecticut. 21 THE DEPONENT: I believe so.
22 Q. Did Roxane and BIPI have their own 22 BY MR. GASTWIRTH:

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82

(Pages 322 to 325)

322

324 IE

1 Q. Did Roxane have different customers to 1 BY MR. GASTWIRTH:
2 your knowledge as compared to BIPI? 2 Q. Did Roxane and BIPI have their own
3 MR. FAUCI: Objection. Form. 3 marketing departments?
4 THE DEPONENT: Yes, they did have 4 A. Yes.
5 different customers. 5 MR. FAUCI: Objection. Form.
6 BY MR. GASTWIRTH: 6 BY MR. GASTWIRTH:
7 Q. How so? 7 Q. Did Roxane and BIPI have their own
8 A. They probably had a broader breadth of| 8 contract departments?
9 customers as opposed to BIPI. BIPI sold 9 A. Yes.
10 predominantly through wholesalers only, and 10 Q. Mr. Berkle, during your tenure at BIPI
11 Roxane because of the nature of their business, | 11 did you ever have any day-to-day operational
12 generic business, certainly sold through 12 responsibility for Roxane's generic business?
13 wholesalers but other types of distributors as 13 A. No, I didn't.
14 well. Although, again, for a period of time that; 14 MR. FAUCI: Objection. Form.
15 Ican recall a good bulk of the business for 15 BY MR. GASTWIRTH:
16 Roxane was directed through wholesales. 16 Q. I'm sorry. Can you repeat your answer,
17 Q. Did BIPI have financial statements? 17 please.
18 A. Yes, they did. 18 A. No, I did not.
19 Q. Was BIPI's financial statements 19 Q. Mr. Berkle, in your position as VP of
20 separate from Roxane? 20 BIC, did you ever have any day-to-day operational :
21 A. Yes, they were. 21 responsibility for Roxane's generic business? :
22 Q. Did BIPI have business plans? 22 A. No, I did not.
323 325 :
1 A. Yes, they did. 1 Q. Mr. Berkle, do you believe that BIC had
2 Q. Do you know if Roxane had business 2 any day-to-day operational responsibility over
3 plans? 3 Roxane's business?
4 A. Yes, they did. 4 A. No,Ido not.
5 Q. Would BIPI's business plans have been 5 Q. Mr. Berkle, do you believe that the
6 different than Roxane's business plans? 6 German parent of Boehringer had any day-to-day
7 A. Yes. 7 operational responsibility over BIPI's business?
8 MR. FAUCI: Objection. Form. 8 A. No, Ido not.
9 BY MR. GASTWIRTH: 9 Q. Mr. Berkle, do you believe that the
10 Q. Did BIPI have growth forecasts? 10 German parent of Boehringer had any day-to-day
11 A. Yes. 11. operational responsibility over Roxane?
12 Q. Did Roxane have growth forecasts? 12 A. No, Ido not.
13 A. Yes. 13 Q. Mr. Berkle, did BIPI have a board of
14 Q. Would BIPI's growth forecast have been} 14 directors?
15 different than Roxane's forecast? 15 A. Yes, it did.
16 MR. FAUCI: Objection. Form. 16 Q. Did Roxane have a board of directors?
17 THE DEPONENT: Yes. 17 A. Yes, it did.
18 BY MR. GASTWIRTH: 18 Q. Were they separate board of directors?
19 Q. Did Roxane and BIPI have their own 19 That is, the board of directors for Roxane was
20 sales forces? 20 separate from the board of directors of BIPI?
21 MR. BREEN: Objection. Form. 21 MR. FAUCI: Objection. Form.
22 22

THE DEPONENT: Yes.

THE DEPONENT: Yes, it was.

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Stee ae aU LAMAR DCS Te LAUR RUA ano Sa CEBU RIO ee

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83 (Pages 326 to 329)
326 328 :

1 BY MR. GASTWIRTH: 1 that involved what counsel said, but stop before :
2 Q. And the board of directors for BIPI had | 2 you answer and let counsel have an chance to /
3 meetings? 3 object because he may have some attorney-client
4 A. I believe -- 4 privilege objections. \
5 MR. FAUCI: Objection. Form. 5 And -- And after I finished my
6 THE DEPONENT.: I believe it did. 6 examination today, a few minutes ago, you did
7 BY MR. GASTWIRTH: 7 have an opportunity to consult with counsel,
8 Q. And did the board of directors for 8 correct?
9 Roxane have meetings? 9 A. Yes.

10 A. I believe it did. 10 Q. Okay. And so first question, with

11 Q. Would the board of directors' meetings | 11 respect to the -- your testimony that you believe

12 for Roxane and BIPI have occurred at different} 12 Roxane had a board of directors, without going

13 times? 13 into any discussions with counsel, can you tell

14 A. I believe that's true. 14 me who was on that board?

15 Q. Roxane had some officers, correct? 15 A. I'll go back to I think I responded

16 A. Yes. 16 earlier this morning that certainly Mr.

17 Q. Roxane had executives? 17 Gerstenberg was on that board, I was on that i

18 A. Yes. 18 board. But beyond that, I really don't recall. :

19 Q. And BIPI had officers? 19 Q. So you and Gerstenberg were on the

20 A. Yes. 20 Roxane board?

21 Q. And BIPI had executives? 21 A. Correct. 4

22 A. Yes. 22 Q. And when did you have your last board :

327 329 :

1 Q. And BIC had a board of directors, meeting for Roxane?
2 correct? A. Ihave no idea. :
3 MR. FAUCI: Objection. Form. Q. Do you have a present recollection of :
4 THE DEPONENT: That's correct. sitting in a board meeting for Roxane :
5 BY MR. GASTWIRTH: Laboratories?
6 Q. Mr. Berkle, who was the head of Roxane A. Very vague. :
7 during your employment at BIPI? Q. How many times did you have board :
8 <A. That differed at different time meetings for Roxane Laboratories? :

periods. Certainly when I first came to the U.S.
it was Jerry Wojta who was the president. There
was a period of time that Ed Tupa was the senior
manager at -- at Roxane. And then certainly Tom
Russillo was the -- was the head of Roxane
Laboratories.

MR. GASTWIRTH: Just take a moment.

I have no further questions.

MR. BREEN: Just a few follow-up based
upon that.

EXAMINATION
BY MR. BREEN:
Q. I'm going to ask a couple questions

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17

A. Again, I was trying to think, and I
don't recall the frequency of meetings.
Q. How long were you on the board for

Roxane Laboratories?

A. Again, I don't know the number of
years.

Q. Was it one year?

A. It was beyond one year, but I -- I just
don't know.

Q. Was it the entire tenure that you were ||:
with the company? :

A. I don't believe so. :

Q. Where did you have the board meetings |};
at? !

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90 (Pages 354 to 357)

354

356 |f

1 directors for Roxane is identified? 1. it's true based on this document.
2 MS. ROGERS: Objection. Form. 2 BY MR. GASTWIRTH: :
3 THE DEPONENT: Yes, it does. 3 Q. And does this document also have a :
4 BY MR. GASTWIRTH: 4 resolution for adoption of appointment of
5 Q. And what is the date of this corporate 5 officers?
6 data sheet? 6 A. It does.
7 A. 6/21/99, 7 Q. And were officers adopted at this
8 Q. Does this corporate data sheet identify 8 annual meeting for the board of directors for
9 - the board of directors for Roxane as of 6/21/99? 9 BIPI?
10 A. It appears to. 10 MR. FAUCI: Objection. Form.
11 Q. And who were the corporate directors as 11 THE DEPONENT: Yes, they were.
12 of 6/21/99 for Roxane? 12 BY MR. GASTWIRTH:
13 A. Mr. Gerstenberg, Mr. Poerschmann and] 13 Q. And were you one of the officers that
14 myself. 14 was -- that was appointed at this annual meeting
15 Q. Okay. Now, Mr. Breen also suggested 15 that occurred on June 24, 2003 for BIPI?
16 that BIPI's board did not have annual meetings. 16 A. Yes, I was. ;
17 And -- 17 Q. Does this document refresh your ;
18 MR. FAUCI: Objection. Form. 18 recollection as to whether BIPI had annual
19 BY MR. GASTWIRTH: 19 meetings of board of directors?
20 Q. --I don't have all - 20 MR. BREEN: Objection. Form.
21 MR. BREEN: Objection. Form. You miss] 21 MR. FAUCI: Objection. Form. l
22 -- Counsel, you mischaracterized what I said. I 22 THE DEPONENT: Certainly I knew there :
355 357 :
1 asked this witness questions to test his 1 was meetings. You know, my -- I couldn't :
2 knowledge based upon testimony that you elicited, 2 recollect the frequency, but it appears to be at :
3 Counsel. So please stop mischaracterizing 3 least there was an annual meeting. :
4 anything I said. You asked the man questions, he 4 MR. GASTWIRTH: I am going to give you :
5 gave you answers, I tested his knowledge. That's 5 --IfI could ask the court reporter to mark the ;
6 it. 6 next one, two, three, four exhibits, 43, 44, 45
7 MR. GASTWIRTH: What exhibit are we on?} 7 and 46, that would be great. Thank you. |
8 42? Ifyou can mark that Exhibit 42, please. 8 (Exhibit Berkle 043, Exhibit Berkle
9 (Exhibit Berkle 042 was marked.) 9 044, Exhibit Berkle 045 and Exhibit Berkle 046 i
10 MR. FAUCI: Do you have a copy of it? 10 were marked.) ji
11 MR. GASTWIRTH: I'm going to give it to 11 MR. BREEN: Do you have any of these
12 you in one second. 12 for Roxane?
13. BY MR. GASTWIRTH: 13 MR. GASTWIRTH: I'm going through these
14 Q. Exhibit 42 states BIPI annual meeting 14 right now. :
15 of the board of directors June 24th, 2003, 15 BY MR. GASTWIRTH:
16 correct? 16 Q. Now, again, Mr. Berkle this is just
17 A. Correct. 17 what I could locate in my car in response to the ‘
18 Q. Based on this document, do you believe 18 suggestion that Roxane didn't have board of
19 that there was an annual meeting of the board of 19 minutes direct -- meetings of the board of ;
20 directors for BIPI on June 24th, 2003? 20 directors, BIC didn't and BIPY didn't. ‘
21 MR. BREEN: Objection. Form. 21 MR. BREEN: Counsel, I'm going to
22 THE DEPONENT: I would believe that 22 object to the form.

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91 (Pages 358 to 361)

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MR. FAUCI: I completely agree.

MR. BREEN: And I have had it with this
mischaracterization. You asked the man a
question, I cross-examined to test his knowledge.
I don't want to hear about what's in your car or
what -- or you characterizing this stuff on the
record. That's totally improper. And it's
totally improper coaching also.

MR. FAUCI: You have the documents you
have. Ask questions about them.

MR. BREEN: So you can ask questions,
but stop mischaracterizing anything I
represented. I don't appreciate it.

BY MR. GASTWIRTH:
Q. Does -- Exhibit 43, Mr. Berkle, is it
an agenda for Boehringer Ingelheim Corporation,
BIC, the board of directors meeting for June 6,
1995?
A. For July 6, 1995.
MR. BREEN: Objection. Form.
THE DEPONENT: It appears to be.
BY MR. GASTWIRTH:

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360

A. That's correct. ;

Q. Can you please flip to page 17 through :

22 of this document. Did I mark that section? |},
A. Yeah, here.

Q. Okay. When you were talking earlier

about financial statements that were prepared by |};

the separate Boehringer entities, does pages 40 - ||
- 17 through 21 I believe represent financial cf
statements for Roxane? \
A. It appears to be, yes. :
MR. FAUCI: Objection. Form. Please
stop leading the witness.
THE DEPONENT: It appears to be true
what you asked.
BY MR. GASTWIRTH: 4
Q. Okay. And can I direct your attention

to the next exhibit, please.

A. Uh-huh.

Q. Exhibit 46.

A. Oh, sorry. Okay.

Q. Exhibit 46 is labeled minutes of the
meeting of the board of directors Boehringer

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Q. Okay. And ifI could direct your
attention to Exhibit 44, please. Is Exhibit 44
minutes of the meeting of the board of directors
for BIC July 16th, 1996?

MR. FAUCI: Objection. Foundation.
THE DEPONENT: It appears to be.
BY MR. GASTWIRTH:

Q. Can you please tell me who the board
members were for BIC July 16th, 1996.

A. Chairman was Dr. Louis Fernandez, Mr.
Gerstenberg, Dr. Thomas Heil, Dr. Claus Rohleder
Dr. Jere Goyan and Mr. Vaughn Bryson.

Q. Can] direct your attention to Exhibit
45, please.

A. Okay.

Q. Exhibit 45 at the top says Boehringer
Ingelheim Corporation meeting of the board of
directors February 28th, 1997.

A. That's correct.

Q. Earlier today you testified as to
financial statements being prepared for some of
the Bert -- Boehringer entities, correct?

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361

Ingelheim Corporation October 28th, 1998?

A. Correct.

Q. Can you please identify who the board
members were for BIC as of October 28th, 1998?

A. I believe it's the same list. Dr.
Fernandez as chairman, Dr. -- Mr. Gerstenberg, :
Dr. Jo -- no, it's somewhat different, Dr.

Johann, Dr. Heil, Dr. Goyan and Mr. Bryson.
Q. And how many pages is the minutes for
this board meeting of BIC?
A. I don't know if I can make that out.
The actual minutes were 17 pages.
Q. And do the minutes reflect what took
place at this board of directors meeting?
MR. FAUCI: Objection. Foundation. }
THE DEPONENT: I assume --
MR. FAUCI: How is he supposed to
answer that?
BY MR. GASTWIRTH:
Q. Okay. Mr. Berkle, were you invited to

attend this meeting of the board of directors for
BIC on October 28th, 1998? You can look at the
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92 (Pages 362 to 365)

oN DU BWDdN BP

362

first page.

A. I was invited for a portion of this
meeting.

Q. Do you recall this meeting now? Does
this document refresh your recollection?

A. I don't recall the specific meeting,
but I think I've testified earlier that I did sit
in frequently at BIC board meetings for a portion
of them when I was invited.

MR. GASTWIRTH: Okay. I have no

further questions.

EXAMINATION
BY MR. BREEN:
Q. All right. Just a few based upon that.

I see a bunch of agendas here and
minutes of meetings of the board of directors of
Boehringer Ingelheim Corporation.

A. Uh-huh.
Q. Could you go through that stack of
things that counsel says he got out of his car

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NNPeP RPP PRB
FPOoOw ON HU

364 |;

board meetings of Roxane or BIPI. :
A. The Roxane documents reflect directors ‘
and officers for Roxane. There are no minutes ;
attached.
Q. Now, the fact of the matter is that
none of these documents cause you to sit here ‘

right now and remember any -- attending any
particular board meeting for any particular
company, does it? {
MR. GASTWIRTH: Objection. Form.
THE DEPONENT: As said, I was nota |}:
member of the board of directors for BIPI. I was
for Roxane, but I -- you know, I've stated before |f!

and I'll stick to my statement that I don't
recall specifics. F
BY MR. BREEN:
Q. Iunderstand that. I'm not -- I'm not

arguing that, but counsel's questions were --
several times he said, quote, Does this refresh
your recollection. That means something under
the rules of evidence, so I just want the record

22 and pull out all the minutes of meetings of BIPI 22 to beclear.
363 365 |,
1 and all the meetings of minutes of Roxane's 1 The exhibits that counsel has shown you i
2 boards. 2 in this -- since coming back into the room, none
3 A. Here's BIPI. 3 of that causes you to sit here and have a present
4 Q. Was that a -- minutes of a meeting or 4 recollection of having attended a particular
5 is that just a list of people that are appointed 5 meeting, does it? :
6 to the board? 6 MR. GASTWIRTH: Objection. Form.
7 A. The pages I have really is a resolution] 7 BY MR. BREEN:
8 for adoption of appointment of officers at the] 8 Q. When I say present recollection, you're
39 annual meeting of the board of directors for 9 thinking back and in your own mind right now you
10 BIPI. 10 remember a particular meeting and being there. i
11 Q. Any minutes of a meeting there in that | 11 A. Idon't remember a specific meeting. (
12 document? 12 Q. Okay. Now, this -- I'm not sure which
13 A. No. 13 exhibit -- May I reach over here? \
14 Q. Not like you saw for BIC, right? For 14 A. Sure. :
15 BIC they've got -- they've got all these minutes | 15 Q. I just want to speed things up a little
16 and agendas and all that stuff, right? 16 bit. I think it's this one. Which one is this
17 A. Well, in this particular document, no, | 17 one, do you know? Which number?
18 there's no minutes attached. 18 A. 45? :
19 Q. Okay. Well, go through all -- Take 19 MR. GASTWIRTH: No. It's -- i
20 your time because counsel brought all these 20 THE DEPONENT: Sorry.
21 documents in from the trunk of his car, see if 21 MR. BREEN: I'm sorry. It looks like :
22 there's any actual minutes and agendas of any 22 it, but it's not that one.

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